       Case 2:18-cr-00270-GEKP Document 122 Filed 10/02/20 Page 1 of 1



                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                                  CRIMINAL ACTION

             -v.

SALIM DAVIS                                               No. 18-270


                                         ORDER

       AND NOW, this      J ~ a y of October, 2020, upon consideration of Defendant's
Supplemental Motion for Acquittal (Doc. No. 101), Defendant's Motion for a New Trial (Doc.

No. 102), the Government's Response in Opposition to the Motions (Doc. No. 108), and the

Defendant's Reply to the Government (Doc. No. 113), it is ORDERED that Defendant's

Supplemental Motion for Acquittal (Doc. No. 101) and Motion for a New Trial (Doc. No. 102) are

DENIED for the reasons set forth in the accompanying Memorandum.



                                                  BY THE COURT:




                                                  ~
                                                  UNITED ST ATES DISTRICT JUDGE




                                              1
